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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

ZACHARY SMITH,                                         )
                                                       )
       Plaintiff,                                      )
                                                       )
v.                                                     )
                                                       ) 18-cv-00288-NT
JOSEPH FITZPATRICK, Commissioner of                    )
Maine Department of Corrections, et al.,               )
                                                       )
       Defendants.                                     )

                                 SETTLEMENT AGREEMENT

       Plaintiff, Zachary Smith (“Plaintiff”), has brought a civil action against Defendant Dr.

Joseph Fitzpatrick, in his official capacity as Commissioner of the Maine Department of

Corrections (“Commissioner Fitzpatrick”) (collectively, “the Parties”). Plaintiff alleges that he

has opioid use disorder and that this disorder has been successfully treated for some time with

the medication buprenorphine. As the result of his recent conviction in State v. Zachary Smith,

Docket No. ARO-CD-CR 2018-038, Plaintiff has been sentenced to a period of incarceration,

which will be served with the Maine Department of Corrections (“Department”). Plaintiff is to

begin his sentence on October 22, 2018.

       With certain limited exceptions, it is the policy of the Department not to provide

treatment of opioid use disorder with buprenorphine or equivalent medications. In his complaint,

Plaintiff claims that he will suffer irreparable harm if his treatment is not continued when he is in

the custody of the Department. The Department disputes this claim. The parties nevertheless

wish to end this litigation and resolve this matter.

       For these reasons, the Parties enter into the following agreement (“Agreement”) as

follows:




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                                              TERMS

        1.     Commissioner Fitzpatrick or his designee shall order, dispense, and administer to

Plaintiff buprenorphine or an equivalent medication throughout the course of his nine-month-

and-one-day sentence of incarceration in the Maine Department of Corrections ordered pursuant

to State v. Smith, Docket No. AROCD-CR-18-00038.

        2.      Within ten days of signing this Agreement, Commissioner Fitzpatrick or his

designee shall confer with Plaintiff’s treating physician, Dr. David Conner, for the purpose of

determining Plaintiff’s current opioid use disorder treatment. Defendant shall continue

Plaintiff’s current dose of buprenorphine-containing medication and otherwise continue his

treatment as consistently as possible within the correctional facility to which Plaintiff is assigned.

Within 15 days of signing this Agreement, Commissioner Fitzpatrick, through counsel, shall

notify Plaintiff’s counsel to the medication name and dosage that it plans to administer to the

Plaintiff.

        3.     Nothing in this Agreement shall limit Commissioner Fitzpatrick from contracting

with a medical provider in order to comply with the terms of this Agreement, provided that the

Commissioner shall have non-delegable duty to ensure compliance and quality control, and other

aspects of professional practice.

        4.     Should the Department of Corrections or its contracted physician determine that

any significant change in Plaintiff’s medical treatment for opioid use disorder is necessary,

Commissioner Fitzpatrick, through counsel, shall notify Plaintiff’s counsel and provide an

explanation for the proposed change at least 48 hours prior to the change, unless the change is

required on an emergency basis to protect the health or safety of the Plaintiff, in which case




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Commissioner Fitzpatrick, through counsel, shall notify Plaintiff’s counsel as soon as reasonably

possible but no later than 24 hours after the change.

       5.      Nothing in this Agreement shall prevent Commissioner Fitzpatrick, or designee,

from developing a substance abuse treatment program and including treatment services for the

Plaintiff as part of Plaintiff’s overall correctional plan pursuant to the Department’s policy

regarding Counseling and Treatment Services.

       6.      Within a reasonable time prior to Plaintiff’s release, Commissioner Fitzpatrick, or

designee, shall contact the Plaintiff’s treating physician, Dr. David Conner, or, if Dr. Conner is

unavailable, another physician licensed to prescribed buprenorphine-containing medication, to

schedule an appointment within 30 days of release, and to otherwise ensure that medical

treatment of Plaintiff’s opioid use disorder is continued without interruption upon his release.

Pursuant to the Department’s policy on Release and Reentry Planning, Commissioner

Fitzpatrick, or designee, authorizes and shall provide at the time of release a thirty-day supply of

the medication used by the Department to treat Plaintiff’s opioid use disorder. Commissioner

Fitzpatrick, or designee, shall provide other release planning services pursuant to its Release and

Reentry Planning policy, including, but not limited to, providing the Plaintiff with a copy of his

health care discharge summary, and scheduling appointments for any counseling or other

treatment necessary for continuity of care.

       7.      At any time during the pendency of this Agreement, if Plaintiff or his counsel

believes that the defendant is not complying with this agreement, they shall notify Commissioner

Fitzpatrick, through counsel, and, if the situation does not require immediate and emergent

resolution, the Parties shall confer within 72 hours to try to resolve any differences without

judicial intervention. Nothing in this paragraph shall limit Plaintiff or his counsel from filing an




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emergency motion to enforce compliance if they have a good faith belief that such a remedy is

necessary for his immediate welfare.

       8.      If the Plaintiff’s sentence of incarceration is lengthened beyond nine months and

one day, for any reason, the Parties shall reconvene and attempt to resolve any dispute regarding

whether Commissioner Fitzpatrick will provide Mr. Smith with buprenorphine or an equivalent

medication during the additional period of the sentence. In the event the Parties are unable to

reach an agreement, either party may request that the Court intervene to resolve the dispute.

       9.      This Settlement Agreement does not include any agreement regarding an award of

costs and attorney fees to either party and each party reserves all claims and defenses in regard to

an award of costs and attorney fees.

       10.     Commissioner Fitzpatrick’s obligations to provide treatment to the Plaintiff

pursuant to this Agreement shall commence upon receipt of Plaintiff into the custody of the

Maine Department of Corrections.

       11.     Within a reasonable time following execution of this Agreement, the Parties shall

file a joint motion asking the Court to dismiss the case against Commissioner Fitzpatrick without

prejudice upon the condition that the order of dismissal expressly incorporates this Settlement

Agreement and retains jurisdiction to enforce the Agreement.

       12.     The provisions of this Agreement embody and reflect the entire understanding of

the Parties and there are no representations, warranties, or undertakings other than those

expressed and set forth in this Agreement. The provisions of this Agreement shall not be

modified or amended in any way except by writing signed by all parties.




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    Dated: 9/27/18                 By:

                                   ___/s/ Zachary L. Heiden___
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                                   On behalf of Zachary Smith, Plaintiff




    Dated: 9/26/18                     /s/ Dr. Joseph Fitzpatrick_____
                                  Commissioner Joseph Fitzpatrick, Defendant




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